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          16       And SANOFI-AVENTIS S.A.
          17                            UNITED STATES DISTRICT COURT
          18                           CENTRAL DISTRICT OF CALIFORNIA
          19       AMPHASTAR                               CASE NO. EDCV09-00023 MJG (OPx)
                   PHARMACEUTICALS, INC.,
          20                                               DEFENDANTS’ REPLY TO
                                    Plaintiff/Relator,     RELATOR AMPHASTAR’S
          21                                               OBJECTIONS TO BILL OF COSTS
                         v.
          22
                   AVENTIS PHARMA S.A., AVENTIS           Judge: Hon. Marvin J. Garbis
          23       PHARMACEUTICALS, INC.,
                   SANOFI-AVENTIS S.A., AND DOES
          24       1-10,
          25                        Defendants.
          26
          27
          28

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            1              Aventis respectfully submits this reply in support of its Bill of Costs and
            2      accompanying Itemization. See ECF Nos. 385 & 385-1. In its Objections (ECF No.
            3      395), Amphastar does not dispute its obligation to pay $42,368.69 in expenses incurred
            4      by Aventis for (i) court transcripts ($7,551.30), (ii) deposition costs ($20,087.75), (iii)
            5      courthouse reproduction costs related to the copying of Amphastar laboratory
            6      notebooks sequestered by the Court upon its discovery of Amphastar’s litigation
            7      misconduct ($1,812.18), (iv) fees for service of process ($1,266.00), (v) certain costs
            8      related to the copying of discovery materials ($10,925.42), and (vi) certain
            9      exemplification costs ($725.94). For the reasons set forth below, Amphastar’s
          10       objections to reimbursing Aventis for the other expenses claimed as just costs pursuant
          11       to 28 U.S.C. § 1919, and taxable under 28 U.S.C. § 1920, are meritless.1
          12
                   I.      AVENTIS’S EXPENSES FOR PRODUCING ELECTRONIC
          13               DOCUMENTS AND PHOTOCOPYING CASE-RELATED MATERIALS
          14               ARE RECOVERABLE
                           Aventis seeks to recover two distinct types of reproduction costs: (i) discrete and
          15
                   well-defined categories of costs associated with producing Aventis’s electronic
          16
                   documents to Amphastar and (ii) photocopies made by counsel for Aventis – i.e., in-
          17
                   house duplication – with respect to the parties’ document production, court filings,
          18
                   transcripts, and the like. Itemization at 2:23-3:7. Amphastar conflates these two
          19
                   categories, suggests that Aventis’s photocopying was “merely for the convenience of
          20
                   the attorneys” rather than “necessary,” and then argues that Aventis is only entitled to
          21
                   recover the costs for creating one hard-copy set of the 99,322 pages of electronic
          22
                   documents that Aventis produced in this case pursuant to Amphastar’s discovery
          23
          24
          25
                    1
          26            Contrary to Amphastar’s assertion that Aventis improperly “relies on the much
                        broader Local Rule 54 in support of the ‘just costs’ it seeks,” Objection at 3:10-12,
          27            Aventis’s basis for its Bill of Costs is the Court’s finding that Aventis is entitled to
                        its “just costs” under § 1919. See Itemization at 2:7-8 (citing Judgment Order (ECF
          28            No. 378)).

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            1      requests. See Objection at 5:6-8, 6:1-4 & n.3. Amphastar does not challenge the $0.11
            2      per page cost that Aventis used to tally its photocopying costs. Id. at 6:1-4.
            3              Amphastar’s attempt to artificially limit Aventis’s substantiated duplication and
            4      production costs has no basis in law or fact. Amphastar cites no law for the
            5      proposition that a party cannot receive as “just costs” expenses directly relating to
            6      producing its own electronic documents to the requesting party and the costs of
            7      copying other produced documents or case-related materials. Nor could it. When
            8      interpreting the types of “costs” allowable under § 1920(4), countless courts –
            9      including the Ninth Circuit in one of the cases Amphastar cites to support its Objection
          10       – have authorized recovery of both types of expenses. See In re Online DVD-Rental
          11       Antitrust Litig., 779 F.3d 914, 932-33 (9th Cir. 2015) (affirming district court award of
          12       electronic discovery costs, such as “TIFF conversion,” as well as traditional paper
          13       “copying/‘blowback’ costs”) (cited in Objection at 5:14-17); CBT Flint Partners, LLC
          14       v. Return Path, Inc., 737 F.3d 1320, 1326, 1329-30, (Fed. Cir. 2013) (recognizing that
          15       “[f]ees for . . . the costs of making copies of any materials where the copies are
          16       necessarily obtained for use in the case,” as proscribed in § 1920(4), included
          17       electronic discovery and traditional photocopying costs).2
          18               The number of pages copied by Aventis was more than reasonable. Including
          19       the prior related patent litigation between the parties, which was a central focus of the
          20       original source issue, Amphastar and Aventis produced approximately 13,000 and
          21
          22        2
                        Amphastar’s contention that the $4,169.43 Aventis seeks to recover for its
          23            electronic discovery costs is unsubstantiated, see Objection at 6:5-6, cannot be
                        squared with the Declaration of Bud Slater, which describes with specificity the
          24            types of work listed on the invoices Aventis submitted with its Bill of Costs, see
                        Itemization at 6-8, 33-45 (Ex. D). Notably, Amphastar does not dispute that those
          25            types of electronic discovery expenses – for example, TIFF conversion and text
                        extraction – are recoverable under § 1920(4). See, e.g., CBT Flint Partners, 737
          26            F.3d at 1329-30, 1332-33 (surveying case law and finding that such electronic
                        discovery expenses, among others, fall within § 1920(4)). Indeed, the Ninth Circuit
          27            has expressly recognized that the categories of costs identified in § 1920 “may be
                        helpful in determining what costs to award” pursuant to § 1919. Otay Land Co. v.
          28            United Enters. Ltd., 672 F.3d 1552, 1160 (9th Cir. 2012) (emphasis omitted).

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            1      650,000 pages of documents, respectively, in this matter. Declaration of Jason C.
            2      McKenney in Support of Defendants’ Reply to Amphastar’s Objections to Bill of
            3      Costs at ¶¶ 2-6 (“McKenney Decl.”). Thus, the cost of creating and maintaining one
            4      set of the parties’ original document productions – an indisputably reasonable practice
            5      – would exceed, by nearly a factor of two, the $38,950.68 expense Aventis claimed in
            6      its Bill of Costs to duplicate 356,072 pages. Itemization at 4. In addition, a substantial
            7      proportion of Aventis’s claimed in-house photocopying costs were incurred in the
            8      period spanning April to October 2014, reflecting the large volume of deposition
            9      exhibits, expert reports, court filings, trial exhibits, and closing argument materials
          10       relating to the original source issue. Itemization at 46-186 (reflecting that 95 out of the
          11       140 pages of itemized duplication costs are dated from this period). Such
          12       photocopying is indisputably “necessary” under § 1920. See, e.g., 10 Fed. Prac. &
          13       Proc. Civ. § 2677 (3d ed.) (explaining that valid copying fees need only be “necessary
          14       to counsel’s effective performance or the court’s handling of the case” or otherwise
          15       “trial-connected”).
          16
                   II.   AVENTIS’S EXEMPLIFICATION COSTS ARE “JUST” AND
          17             REASONABLE
          18             Amphastar asserts that § 1919 precludes Aventis from recovering its costs
          19       “associated with summaries, computations, comparisons, charts, diagrams, and other
          20       visual aids.” Objection at 7:9-12. No such limit is actually present in § 1919, much
          21       less § 1920, and again, Amphastar’s own authority belies its objections. In In re
          22       Online DVD-Rental, the district court granted, and the Ninth Circuit affirmed, over
          23       $240,000 in costs under § 1920(4) that included fees expended for “preparing visual
          24       aids” and, as here, costs associated with “vendors [that] were only paid to perform the
          25       tasks associated with production and not for creating the substantive content of the
          26       visual aids.” 79 F.3d at 932 (emphasis added) (cited in Objection at 5:14-17). And in
          27       Cefalu v. Village of Elk Grove, 211 F.3d 416 (7th Cir. 2000), the court held the
          28       defendant could recover as exemplification costs fees for “the more familiar means of

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            1      illustration – models, charts, graphs, and the like.” Id. at 427-29 (cited in Objection at
            2      7:21-26). The court further found that, “in view of the illustrative purpose of
            3      exemplification,” the defendant could also recover expenses associated with “other
            4      types of computer-based, multimedia displays,” including $27,000 incurred to develop
            5      an electronic media system that displayed exhibits to the jury. Id. (emphasis added).
            6              Amphastar further argues that Aventis’s visual aids were an unnecessary
            7      “luxury.” Objection at 8:11-15. This objection is frivolous. Both parties used
            8      professional trial graphics to present their thematic and evidentiary points for the
            9      Court’s benefit, which is hardly surprising. The original source hearing involved
          10       highly technical scientific evidence, including laboratory notebooks concerning scores
          11       of events that occurred over many years and a complex patent litigation record. While
          12       Amphastar would apparently limit its opponent to using an Elmo projector and
          13       chalkboard, litigation in modern complex cases involves PowerPoint presentations,
          14       computers, displays, and graphics, including the necessary retention of information
          15       technology assistance to facilitate the actual creation and presentation of those
          16       graphics. See Cefalu, 221 F.3d at 428 (“Allowing fees for the cost of preparing the
          17       transparency but not for renting the projector would . . . be a highly formalistic
          18       distinction, as each is key to the illustrative function of the exhibit” and thus
          19       recoverable).3
          20               The Court was the audience for (and the beneficiary of) the graphics included in
          21       Aventis’s evidentiary presentation and is well-positioned to assess whether it was
          22       reasonable for Aventis to avail itself of modern technology to organize and present the
          23       evidence at issue. See LG Elecs. U.S.A., Inc. v. Whirlpool Corp., 2011 WL 5008425,
          24       at *7 (N.D. Ill. Oct. 20, 2011) (taxing fees charged by “technological consultants” for
          25
          26        3
                        Cf. Extra Equipamentos E Exportação Ltda. v. Case Corp., 541 F.3d 719, 727 (7th
          27            Cir. 2008) (holding that “[s]ince the [court] reporter cannot make the transcript
                        without attending the hearing, the separate attendance fee is properly regarded as a
          28            component of the fee for the transcript” under § 1920(2)).

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            1      assisting with evidence presentation at trial, reasoning that, as here, those services
            2      represented an “efficient, time-saving method of presenting complex evidence under
            3      the circumstances”).
            4
                   III.   AMPHASTAR’S MISCHARACTERIZATION OF AVENTIS’S BONA
            5             FIDE INTERPRETER COSTS SHOULD BE REJECTED
            6             Amphastar objects to certain claimed interpreter expenses on the ground that the
            7      witness deposed on the date of the invoice did not need an interpreter. Objection at
            8      7:1-4. This objection shows that Amphastar continues to struggle with the basic
            9      concept of being forthright with this Court.
          10              Aventis retained an interpreter to attend the May 6, 2014 deposition of Mr.
          11       Robert Fei. Mr. Fei was Amphastar’s lead scientist on the experiments at the center of
          12       Amphastar’s jurisdictional claim to qualify as an original source. English is a second
          13       language for Mr. Fei and, as the Court witnessed during the hearing, it can be difficult
          14       to understand and communicate with Mr. Fei due to a language barrier. Hence,
          15       Aventis retained an interpreter to assist in his deposition and incurred $1,150.00 in
          16       expenses to do so. McKenney Decl. Ex. A at 3:17-18 (appearance pages to transcript
          17       of Mr. Fei’s May 6, 2014 deposition identifying Siye Yu as the “interpreter”). The
          18       translation company, Transperfect, invoiced Aventis for payment on June 13, 2014.
          19       Itemization at 3, Ex. C (Transperfect invoice).
          20              Amphastar’s lead counsel, Jan Weir, and the chief legal officer of Amphastar,
          21       Richard Whitlow, attended Mr. Fei’s deposition. McKenney Decl. Ex. A at 3:4-10.
          22       Thus, Mr. Weir and Mr. Whitlow witnessed the presence of the interpreter.
          23       Notwithstanding that Amphastar was therefore fully aware of the exact nature of
          24       Aventis’s interpretation expense, Amphastar objects to this clearly recoverable cost by
          25       treating the date the translation company invoiced Aventis as the date on which the
          26       translation services were provided. See Objection at 6:18-22. This effort to misdirect
          27       the Court from awarding undisputedly recoverable costs is illustrative of the manner in
          28

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            1      which Amphastar has litigated this entire case and confirms the appropriateness of
            2      awarding “just costs” here.
            3                                                 ***
            4            Amphastar does not dispute $42,368.69 of Aventis’s costs. For the reasons
            5      described above, the Court should reject Amphastar’s objections to the remaining
            6      $141,418.84 of Aventis’s costs and award Aventis the entirety of the $183,787.53 of
            7      just costs Aventis identified, itemized, and substantiated in its Bill of Costs and
            8      Itemization.
            9
          10       Dated: August 12, 2015                  Respectfully submitted,
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                                                           M. Sean Royall
          13                                               Stephen C. Payne
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          16                                               By: /s/ Tracey B. Davies
          17                                                   Tracey B. Davies

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                                                           and SANOFI-AVENTIS S.A.
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            1                                 CERTIFICATE OF SERVICE
            2      I, the undersigned, declare:
            3            I am employed in Dallas, Texas. I am over the age of 18 and not a party to this
            4      action; my business address is 2100 McKinney Avenue, Suite 1100, Dallas, TX 75229
            5            On August 12, 2015, I caused the service of a true and correct copy of the
            6      documents described as follows:
            7            DEFENDANTS’ REPLY TO RELATOR AMPHASTAR’S OBJECTIONS
                         TO BILL OF COSTS
            8
                   [X] by electronically filing the foregoing with the Clerk of Court using the CM/ECF
            9      system which will send notification of such filing to the email addresses denoted on
                   the attached Electronic Mail Notice list by operation of the Court’s CM/ECF System.
          10
                   [X] by U.S. Mail in the ordinary course of business to the non-CM/ECF participants
          11       indicated on the attached Manual Notice List.
          12             I declare under penalty of perjury under the laws of the United States of
          13       America and the State of Texas that the above is true and correct.
          14             Executed on August 12, 2015 at Dallas, Texas.
          15
          16             Tracey B. Davies                /s/ Tracey B. Davies
          17             (Type or Print Name)            (Signature)
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            3      The following are those who are currently on the list to receive email notices for this
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